  UNITED STATES DISTRICT COURT
  FOR THE EASTERN DISTRICT OF WISCONSIN


  Plaintiffs
  HANNAH GITTINGS;
  CHRISTOPHER MCNEAL;
  NATHAN PEET;
  CARMEN PALMER;
  v.

  Defendants:                                                    COURT USE ONLY

  KEVIN MATHEWSON; individually and as THE                   JURY TRIAL
  COMMANDER of the KENOSHA GUARD;                            DEMANDED
  RYAN BALCH, individually and as TACTICAL
  ADVISOR for the KENOSHA GUARD AND
  BOOGALOO BOIS;                                             Case Number:
  & FACEBOOK, a U.S.Corporation;
                                                             2:20-cv-01483 WED



  _____________________________________________
  Attorney for Plaintiff:
  Jason Flores-Williams
  1851 Bassett St 509
  Denver, CO 80202
  Reg. No. #49702
  303-514-4524
  Jfw@jfwlaw.net

            PLAINTIFFS’ NOTICE OF DISMISSAL WITH PREJUDICE

       The Plaintiffs, by and through counsel, Jason Flores-Williams, state as follows:


       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), the Plaintiffs hereby dismiss all causes of

action in the Complaint and Amended Complaint against all Defendants with prejudice.



       Respectfully and Appreciatively Submitted this 26th Day of January 2021,



                                            1

     Case 2:20-cv-01483-WED Filed 01/26/21 Page 1 of 2 Document 17
        s/Jason Flores-Williams
        Jason Flores-Williams #49702
        Attorney at Law
        1851 Bassett 509
        Denver, CO 80202
        Counsel for Plaintiffs

                                CERTIFICATE OF SERVICE

        I hereby certify that on this date, I electronically filed the within document with
the Clerk of the Court using the CM/ECF system which will send notification of such
filing(s) to all counsel of record.




                                                      s/Jason Flores-Williams
                                                      Jason Flores-Williams #49702




                                              2

      Case 2:20-cv-01483-WED Filed 01/26/21 Page 2 of 2 Document 17
